       Case 23-01092-MBK           Doc 91-1 Filed 04/25/23 Entered 04/25/23 11:48:05                     Desc
                                    Notice of Order Entry Page 1 of 1
Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

In Re: LTL Management LLC
Debtor
                                                           Case No.: 23−12825−MBK
                                                           Chapter 11
LTL Management LLC
Plaintiff

v.

Those Parties Listed on Appendix A to the Complaint and
John and Jane Does 1−1000
Defendant

Adv. Proc. No. 23−01092−MBK                                Judge: Michael B. Kaplan




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on April 25, 2023, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 91 − 2
ORDER DISSOLVING TEMPORARY RESTRAINING ORDER, EXTENDING THE AUTOMATIC STAY, AND
GRANTING LIMITED PRELIMINARY RESTRAINTS (related document:2 Motion re: Debtor's Motion for an
Order (I) Declaring That the Automatic Stay Applies or Extends to Certain Actions Against Non−Debtors, (II)
Preliminarily Enjoining Such Actions, and (III) Granting a Temporary Restraining Order Ex Parte Pending a Hearing
on a Preliminary Injunction Filed by LTL Management LLC. filed by Plaintiff LTL Management LLC). Service of
notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. Signed on 4/25/2023.
(wiq)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: April 25, 2023
JAN: wiq

                                                           Jeanne Naughton
                                                           Clerk
